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                      UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF TEXAS
                             AUSTIN DIVISION

 SCOTT LOUIS PANETTI
                                           §
          Petitioner
                                           §
                                                     CASE NO. 1:04-CV-00042-RP
                                           §
 V.                                        §
                                                     * DEATH PENALTY CASE *
                                           §
                                           §
 BOBBY LUMPKIN,
                                           §
 Director, Texas Department
                                           §
 of Criminal Justice,
                                           §
 Correctional Institutions
                                           §
 Division
                                           §
           Respondent.


               PETITIONER’S MOTION FOR CLARIFICATION
                OF ORDER DENYING REQUEST FOR STAY

      As this Court noted in its order of August 12, 2021, the Fifth Circuit ordered

this Court to “determine afresh” Scott Panetti’s claim that he is incompetent to be

executed. ECF No. 240 (quoting Panetti v. Davis, 863 F.3d 366, 378 (5th Cir. 2017)).

For that reason, this Court concluded, any challenge to the integrity of the 2008

Ford federal evidentiary hearing based on the recent revelations surrounding the

emergency restriction of Dr. Alan J. Waldman’s medical license is “unnecessary.” Id.

Counsel for Scott Panetti ask the Court for clarification of its order before requiring

the parties to submit a proposed joint scheduling order by September 8, 2021.

      It is unclear whether this Court’s reference to the “determine afresh”

instruction from the Fifth Circuit means that this Court will consider at the new

Ford competency hearing: (1) any evidence related to Scott Panetti’s current mental

status, even if that evidence does not show his mental status has substantially


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changed since he was last evaluated shortly before the 2008 hearing; or (2) only

evidence that shows his mental status has substantially changed since 2008. It is

also unclear whether any inquiry into Dr. Waldman’s credibility is “unnecessary”

because the Court will no longer give weight to the finding it made in 2008¾based

largely on Dr. Waldman’s evaluation and testimony1¾when assessing Scott

Panetti’s current competency. In other words, does the Fifth Circuit’s “determine

afresh” instruction render Scott Panetti’s mental status in 2008 irrelevant? Counsel

need clarification on these issues before they can realistically map out the time

needed to prepare for the evidentiary hearing. Determining the scope of counsel’s

discovery and investigative tasks will depend on the kind of evidence the Court will

consider at the hearing. Accordingly, this Court should resolve the issues now,

before setting a deadline for the parties to submit a proposed joint scheduling order.

      This Court’s reference to the “determine afresh” instruction could be read in

the context of its 2008 ruling to limit the evidence presented at the new hearing to

only that evidence that does more than supplement the existing record. With Scott

Panetti’s execution date looming in late 2014, this Court (the Honorable Sam

Sparks presiding) refused to stay the execution, appoint compensated counsel, or

provide funds for a mental health expert. This Court explained that the limited




1 See Panetti v. Quarterman, No. 1-04-CV-042-SS, 2008WL2338498, at *36 (W.D. Tex. Mar.
26, 2008) (“As he told Dr. Waldeman [sic], ‘You treat mental illness.’ …. Panetti’s
understanding of the causal connection between his crime and his punishment is most
clearly demonstrated by his rationally articulated position that the punishment is
unjustified: He believes the State should not execute him because he was mentally ill when
he committed the murders.”).


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evidence Scott Panetti was able to develop in 2014 did not differ significantly from

the evidence presented at the 2008 federal evidentiary hearing:

      [C]onsidering the question in light of the wealth of evidence on the
      issue of Panetti’s competency previously amassed in this case,
      Panetti’s evidence of incompetence is insufficient to make the
      threshold showing necessary to trigger Ford. The Court has twice
      appointed counsel for Panetti, twice funded expert investigations of his
      mental condition, and twice held extensive evidentiary hearings on his
      competency. While much of the behavior recounted in the new
      TDCJ records provided by Panetti is certainly strange, it is not
      measurably different from the behavior documented in the records
      scrupulously examined by this Court in its March 26, 2008 Order.
                                          ….
      Were this a case with a less-developed factual record, this Court’s
      decision might well be different; however, in light of the history of this
      case and in consideration of the evidence Panetti has placed before the
      Court, the Court concludes Panetti’s attempt to begin the cycle of
      litigation afresh should be rejected.

Panetti v. Stephens, No. A-04-CA-42-SS, slip opinion at 9–10, 12 (W.D. Tex.

Nov. 26, 2014); see id. at 13 (“Panetti has extensively litigated this issue, and

has presented no evidence of incompetence different in kind from that

previously considered and ultimately rejected by this and other Courts.”); see

Panetti, 863 F.3d at 375 (explaining that Scott Panetti first must be given the

necessary tools to allow him the opportunity to develop new evidence of his

incompetency rather than evidence that “would only be ‘supplemental’ to that

already contained in the record”).

      Limiting the relevant evidence to only that which shows a substantial

change in Scott Panetti’s mental status since 2008 would require counsel to

develop new, materially different evidence now. Moreover, any reliance on

the evaluation and testimony of Dr. Waldman¾on which this Court largely,



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if not entirely, based its 2008 finding¾would require counsel to develop

evidence to impeach him. On the other hand, if this Court intends to

determine Scott Panetti’s current competency without limiting it to evidence

showing a substantial change in his mental status since 2008, or relying on

the evidence presented by Dr. Waldman, then counsel’s preparation for the

hearing will require a different set of tasks. Clarifying these issues now will

enable counsel for Scott Panetti to craft a realistic proposed joint scheduling

order.

                                     CONCLUSION

         Counsel for Scott Panetti ask this Court to clarify its order denying a stay of

the deadline requiring the parties to submit a proposed joint scheduling order by

September 8, 2021.



                                          Respectfully submitted,


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                         CERTIFICATE OF SERVICE

       I certify that on this 1st day of September 2021, I electronically filed the
foregoing advisory with the clerk of the court for the U.S. District Court, Western
District of Texas, using the electronic case filing system. A “Notice of Electronic
Filing” was sent to Counsel for Respondent at the following e-mail address:

Rachel L. Patton
Assistant Attorney General
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                                                   s/ Gregory W. Wiercioch




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